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                                               June 2, 2023

  ATTN: THE HONORABLE JOHN MICHAEL VAZQUEZ
  United States District Judge
  District of New Jersey
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street
  Newark, NJ 07102
  Courtroom PO 03

          Re:     U.S. ex rel. Simpson v. Bayer et al., No. 2:05-cv-3895 (D.N.J.) (JMV/LDW),
                  Request for Extension of Time

  Dear Judge Vazquez:

          We respectfully submit this letter pursuant to Your Honor’s Judicial Preferences to request

  an extension of 14 days to allow Olshan Frome Wolosky LLP (“Olshan”), prior counsel to the

  Relator in this case, to submit a reply brief in further support of its Motion Seeking: 1) Intervention;

  2) Reasonable Attorneys’ Fees and Related Costs (the “Motion,” ECF Nos. 414, 415). Olshan’s

  reply brief is presently due on June 6, 2023. Olshan requests an extension up to and including June

  20, 2023. The request is necessary to allow Olshan sufficient time to respond adequately to

  Defendants’ Opposition and to submit the additional attorneys’ fees and costs that have been

  incurred over the last six months since the original fee application was filed in the beginning of

  January, 2023. We have requested two weeks due, in part, to counsel’s intervening vacation

  schedules. The requested extension will not prejudice the parties or delay the proceeding, as efforts

  to settlement on Olshan’s part have been ongoing and will continue if granted.

          The Court has granted multiple extensions of time for Defendants in connection with the

  pending fee applications. This is Olshan’s first request for an extension of time. Counsel for




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  Defendants has consented to this requested extension. We thank the Court for its attention to this

  matter.

                                                      Respectfully submitted,


                                                      /s/ Kyle C. Bisceglie
                                                      Kyle C. Bisceglie




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